Case 1:21-cv-02380-BAH Document 7-1 Filed 09/10/21 Page 1 of 4




Attachment 1
         Case 1:21-cv-02380-BAH Document 7-1 Filed 09/10/21 Page 2 of 4



                                                                                            Public Health Service

                                                                                       National Institutes of Health
                                                                                     Freedom of Information Office
                                                                                         Building 31, Room 5B-35
                                                                                       31 Center Drive, MSC 2107
                                                                                   Bethesda, Maryland 20892-2107
                                                                                            phone: (301) 496-5633
                                                                                               fax: (301) 402-4541




Via E-mail: ryanhartkopf@gmail.com


April 29, 2021

Ryan Hartkopf
6633 Raymond Rd
Madison, WI 53711

Re: FOI Case No. 56228


Dear Mr. Hartkopf:

This is the final response to your April 24, 2021 Freedom of Information Act (FOIA) request
addressed to the National Institutes of Health (NIH) FOIA Office and received in this office on
April 26, 2021. You requested a copy of a screenshot of all keywords that are blocked on the
NIH Facebook page https://www.facebook.com/nih.gov

The NIH FOIA Office reviewed the 1 page responsive to your request, and it is enclosed with
this letter.

If you are not satisfied with the processing and handling of this request, you may contact the OD
FOIA Public Liaison and/or the Office of Government Information Services (OGIS):

NIH FOIA Public Liaison                             OGIS
Denean Standing-Ojo                                 National Archives and Records Admin
Public Affairs Specialist                           8601 Adelphi Rd - OGIS
Office of Communications and Public Liaison         College Park, MD 20740-6001
Building 31, Room 5B52S                             202-741-5770 (phone)
31 Center Drive                                     1-877-684-6448 (toll-free)
Bethesda, MD 20814                                  202-741-5769 (fax)
301-496-5077 (phone)                                ogis@nara.gov (email)
301-496-0818 (fax)
nihfoia@od.nih.gov (email)
         Case 1:21-cv-02380-BAH Document 7-1 Filed 09/10/21 Page 3 of 4
Page 2 – Hartkopf 56228


In certain circumstances, provisions of the FOIA and HHS FOIA Regulations allow us to
recover part of the cost of responding to your request. Because no unusual circumstances apply
to the processing of your request, there are no charges for search time.

If you have any questions about this response, please call the NIH FOIA office at 301-496-5633.



                                            Sincerely,

                                            Hawyee          Digitally signed by
                                                            Hawyee Yan -S

                                            Yan -S          Date: 2021.04.29
                                                            14:07:32 -04'00'
                                            for
                                            Gorka Garcia-Malene
                                            Freedom of Information Officer, NIH




Attachment: 1 page, PDF
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